Case 4:20-cr-00276-GKF Document 108-4 Filed in USDC ND/OK on 04/26/21

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff(s),
VS. Case Number: 20-CR-00276
SHANNON JAMES KEPLER
Defendant(s).
WITNESS LIST FOR TRIAL

SUBMITTED BY ATTORNEY: Stanley D. Monroe

PARTY REPRESENTED: Shannon James Kepler

No Name (Do NOT Include Addresses)

Date/Time of Testimony (To Be Completed By Clerk)

1. Heather Winters

4)22)21% 3-12 —.330

2. Charles Bono

3. Jennifer Berry Ylzz)z . 23oaA— B' 36
4. David Gionta Wb 3:57 — 4)

5. Gene Watkins 4 [23] 21. q: 08 — Q: : 17
6. Brian Clark Lz 2/2) Bie 7 — 3:55
7. Tara Wade

8. Brent Brimacomb Hf 22 j 2 —

9. Christa Clark L/az/als [0:07 — _l0:A8
10. Brenda Smith L| lala: 4190 — 9.53

ll. Shannon Steele

12. David Young

Nbslals 2:23 —2:32

13. Sara O’ Mara

Ulea}ai: 2203 -A:4l

14. Freddie Michael Bauer

Bl 3Z\=- JiH0

LS, Alice Wilson

_Marnie Waller

a “Fares. Otewark

/23)21¢ 9:55 — 10'0b

I€¢: Shannon James Kepler

Submit to Courtroom Deputy (Do NOT File)

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Witness List for Trial/Hearing CV-15A (6/2014)
